 Case 2:19-cv-04731-NIQA Document 37 Filed 01/11/21 Page 1 of 2




                           United States District Court
                         Eastern District of Pennsylvania
                           File Number 2:19-cv-04731


 Noel Koenke,
 Plaintiff,                                        Notice of Appeal

 v.

 Saint Joseph’s University,
 Defendant


        Notice is hereby given that Noel Koenke, Plaintiff in the above-named
case, hereby appeals to the United States Court of Appeals for the Third Circuit
from final judgment, and from the Memorandum Opinion and Order granting
Defendant’s motion to dismiss and dismissing the claims asserted in Plaintiff’s
Complaint, entered in this action on the 8th day of January, 2021 (ECF Nos. 35-
36). Plaintiff appeals the District Court’s application of the ministerial exception,
to the claims of a minister for hostile work environment/harassment, non-tangible
employment action, and constructive discharge, based on sex, such as the claims
stated by Plaintiff. Plaintiff does not appeal the portion of the District Court’s
ruling that Title IX’s prohibition on discrimination on the basis of sex extends to
discrimination on the basis of sexual orientation.

                                             Respectfully submitted,

                                             THE LAW OFFICES OF ERIC A.
                                             SHORE, P.C.

DATED: 01/11/2021                            /s/ Justin F. Robinette, Esquire
                                             JUSTIN F. ROBINETTE, ESQUIRE
                                             Attorney I.D. No. 319829
                                             Two Penn Center
                                             1500 JFK Boulevard, Suite 1240
                                             Philadelphia, PA 19102
                                             Phone: (215) 944-6121
                                             Fax: (215) 944-6124
                                             JustinR@EricShore.com
                                             Attorney for Plaintiff, Noel Koenke
         Case 2:19-cv-04731-NIQA Document 37 Filed 01/11/21 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I, JUSTIN F. ROBINETTE, ESQUIRE, Attorney for Plaintiff, Noel Koenke, do hereby

certify that on this 11th day of JANUARY, 2021, I caused a true and correct copy of the

foregoing Notice of Appeal to be filed electronically with the District Court, and served upon the

following, on the date set forth below:

                            VIA ECF NOTIFICATION & E-MAIL

                                Kristine Grady Derewicz, Esquire
                                      Mark Esterow, Esquire
                                     Littler Mendelson, P.C.,
                                 1601 Cherry Street, Suite 1400,
                                  Philadelphia, PA 19102-1321,
                                E-mail: kderewicz@littler.com,
                                      mesterow@littler.com

                       Attorneys for Defendant, Saint Joseph’s University;

                                   Professor Leslie C. Griffin,
                           University of Nevada, Boyd School of Law,
                                  4505 S. Maryland Parkway,
                                      Las Vegas, NV 89154
                                E-mail: leslie.griffin@unlv.edu,

                                    Counsel for Amici Curiae

                                                   Respectfully submitted,

                                                   THE LAW OFFICES OF ERIC A.
                                                   SHORE, P.C.

       DATED: 01/11/2021                           /s/ Justin F. Robinette, Esquire
                                                   JUSTIN F. ROBINETTE, ESQUIRE
                                                   Attorney I.D. No. 319829
                                                   Two Penn Center
                                                   1500 JFK Boulevard, Suite 1240
                                                   Philadelphia, PA 19102
                                                   Phone: (215) 944-6121
                                                   Fax: (215) 944-6124
                                                   JustinR@EricShore.com
                                                   Attorney for Plaintiff, Noel Koenke
